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                    EXHIBIT A
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                                               EXHIBIT A
                        SUMMARY OF FEES BY INIVIDUAL FOR THE APPLICATION PERIOD
                            (MAY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024)

    Timekeeper Name               Position                      Hourly Rate         Total Hours Billed         Total Compensation
    Arnett, Chris                 Managing Director                       $1,125                   358.8                     $403,650.00
    Benson, Adam                  Managing Director                       $1,425                    37.7                      $53,722.50
    Bowles, Carl                  Managing Director                       $1,100                    28.3                      $31,130.00
    Chambers, Henry               Managing Director                       $1,070                   357.6                     $382,632.00
    Coverick, Steve               Managing Director                       $1,075                   541.7                     $582,327.50
    Cumberland, Brian             Managing Director                       $1,495                     2.7                       $4,036.50
    Farsaci, Alessandro           Managing Director                       $1,150                     5.1                       $5,865.00
    Fleming, Richard              Managing Director                       $1,025                     1.8                       $1,845.00
    Gordon, Robert                Managing Director                       $1,150                   279.9                     $321,885.00
    Grillo, Rocco                 Managing Director                       $1,150                    40.0                      $46,000.00
    Grosvenor, Robert             Managing Director                       $1,070                    34.3                      $36,701.00
    Hershan, Robert               Managing Director                       $1,100                     2.4                       $2,640.00
    Hertzberg, Julie              Managing Director                       $1,425                   108.8                     $155,040.00
    Howe, Christopher             Managing Director                       $1,475                   340.0                     $501,500.00
    Iwanski, Larry                Managing Director                       $1,150                    37.6                      $43,240.00
    Jacobs, Kevin                 Managing Director                       $1,475                   132.6                     $195,585.00
    Johnston, David               Managing Director                       $1,100                   464.7                     $511,170.00
    Kotarba, Chris                Managing Director                       $1,425                    11.1                      $15,817.50
    Liguori, Albert               Managing Director                       $1,425                   108.5                     $154,612.50
    Marshall, Jonathan            Managing Director                       $1,150                     4.7                       $5,405.00
    Mosley, Ed                    Managing Director                       $1,425                   409.1                     $582,967.50
    Pedersen, Brian               Managing Director                       $1,425                     1.4                       $1,995.00
    Reynolds, Kristina Dautrich   Managing Director                       $1,425                     2.4                       $3,420.00
    Roche, Matthew                Managing Director                       $1,425                    57.8                      $82,365.00
    Ryan, Laureen                 Managing Director                       $1,150                   146.1                     $168,015.00
    Schultz, John 1               Managing Director                       $1,475                     2.5                       $3,687.50
    Schultz, John                 Managing Director                       $1,425                     9.3                      $13,252.50
    Shanahan, Michael             Managing Director                         $990                    45.5                      $45,045.00
    Sielinski, Jeff               Managing Director                       $1,100                   515.3                     $566,830.00
    Sinnott, Brendan              Managing Director                       $1,425                     6.4                       $9,120.00
    Stegenga, Jeffery             Managing Director                       $1,525                    29.3                      $44,682.50
    Swerdlow, Jeff                Managing Director                       $1,425                     5.2                       $7,410.00
    Turner, Cari                  Managing Director                       $1,225                    61.9                      $75,827.50
    Ulyanenko, Andrey             Managing Director                       $1,425                   235.9                     $336,157.50
    Managing Director Total                                                                      4,426.4                   $5,395,579.50
    Brewer, Kenneth               Senior Advisor                          $1,425                    62.8                      $89,490.00
    Cope, Charles                 Senior Advisor                          $1,425                     1.4                       $1,995.00
    Klig, Steven                  Senior Advisor                          $1,425                    16.2                      $23,085.00


1
    Reflects rate change for John Schultz from $1475 to $1425 which occurred during the Interim Period to correct a clerical error.


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Timekeeper Name               Position               Hourly Rate         Total Hours Billed     Total Compensation
Seaway, Bill                  Senior Advisor                  $1,425                     78.4               $111,720.00
Wiseberg, Stan                Senior Advisor                  $1,425                     51.5                $73,387.50
Senior Advisor Total                                                                    210.3                299,677.50
Arhos, Nikos                  Senior Director                 $1,050                   186.5                $195,825.00
Blanks, David                 Senior Director                 $1,025                   599.3                $614,282.50
Brantley, Chase               Senior Director                  $950                    494.7                $469,965.00
Broskay, Cole                 Senior Director                  $975                    221.6                $216,060.00
Canale, Alex                  Senior Director                  $965                    154.7                $149,285.50
Cornetta, Luke                Senior Director                 $1,050                     81.7                $85,785.00
Dusendschon, Kora             Senior Director                  $965                      46.4                $44,776.00
Edwards, Emily                Senior Director                 $1,050                     11.8                $12,390.00
Esposito, Rob                 Senior Director                  $975                    516.8                $503,880.00
Evans, Charles                Senior Director                  $900                      11.1                 $9,990.00
Johnson, Robert               Senior Director                  $965                    149.7                $144,460.50
Konig, Louis                  Senior Director                  $965                    263.7                $254,470.50
Kwan, Peter                   Senior Director                  $965                    369.5                $356,567.50
LeDonne, Haley                Senior Director                 $1,050                   297.2                $312,060.00
McBee, Nicolaus               Senior Director                 $1,050                   325.9                $342,195.00
Mohammed, Azmat               Senior Director                  $975                    503.9                $491,302.50
Pandey, Vishal                Senior Director                  $975                      52.7                $51,382.50
Ramanathan, Kumanan           Senior Director                 $1,050                   667.2                $700,560.00
Tarikere, Sriram              Senior Director                  $975                    108.7                $105,982.50
Titus, Adam                   Senior Director                 $1,025                   665.2                $681,830.00
Zatz, Jonathan                Senior Director                  $965                    375.9                $362,743.50
Zimet, Lee                    Senior Director                 $1,050                     37.9                $39,795.00
Senior Director Total                                                                 6,142.1             $6,145,588.50
Baker, Kevin                  Director                         $800                    532.2                $425,760.00
Balmelli, Gioele              Director                         $850                    107.7                 $91,545.00
Bell, Erik                    Director                         $925                    232.4                $214,970.00
Best, Austin                  Director                         $925                    135.1                $124,967.50
Casey, John                   Director                         $775                    325.5                $252,262.50
Chamma, Leandro               Director                         $800                    419.7                $335,760.00
Cosgrove, Nicholas            Director                         $925                      19.9                $18,407.50
Dalgleish, Elizabeth          Director                         $825                    486.4                $401,280.00
Flynn, Matthew                Director                         $850                    565.0                $480,250.00
Ford, Abigail                 Director                         $925                    192.7                $178,247.50
Glustein, Steven              Director                         $825                    730.2                $602,415.00
Gosau, Tracy                  Director                         $800                      83.2                $66,560.00
Hainline, Drew                Director                         $875                    528.4                $462,350.00
Henness, Jonathan             Director                         $925                    591.8                $547,415.00
Hernandez, Dylan              Director                         $900                      29.8                $26,820.00
Kearney, Kevin                Director                         $875                    680.7                $595,612.50
Lambert, Leslie               Director                         $800                    100.5                 $80,400.00
Lannan, Matthew               Director                         $925                       0.3                  $277.50



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Timekeeper Name               Position                  Hourly Rate         Total Hours Billed     Total Compensation
Lee, Julian                   Director                            $800                      66.2                $52,960.00
LeGuen, Jonathon              Director                            $900                    419.3                $377,370.00
Lewandowski, Douglas          Director                            $875                    524.8                $459,200.00
Lowe, Sam                     Director                            $715                      99.0                $70,785.00
Lucas, Emmet                  Director                            $825                    594.8                $490,710.00
McGoldrick, Hugh              Director                            $825                      16.9                $13,942.50
McGrath, Patrick              Director                            $800                    167.0                $133,600.00
Mennie, James                 Director                            $875                    684.7                $599,112.50
Pekhman, Yuliya               Director                            $800                       0.3                  $240.00
van den Belt, Mark            Director                            $850                       3.4                 $2,890.00
Walia, Gaurav                 Director                            $900                    306.6                $275,940.00
Director Total                                                                           8,644.5             $7,382,050.00
Teo, Benjamin                 Senior Manager                      $725                      19.8                $14,355.00
Senior Manager Total                                                                        19.8                $14,355.00
Baker, Oliver                 Manager                             $875                    254.3                $222,512.50
Baldwin, Evan                 Manager                             $875                      51.8                $45,325.00
Blanchard, Madison            Operations Manager                  $635                    255.4                $162,179.00
Cloughesy, Kristina           Manager                             $200                      15.0                 $3,000.00
Constantinou, Demetrios       Manager                             $875                    160.9                $140,787.50
Cox, Allison                  Manager                             $635                    135.5                 $86,042.50
Grussing, Bernice             Manager                             $375                      12.6                 $4,725.00
Herring, Scott                Manager                             $725                    140.8                $102,080.00
Hoffer, Emily                 Manager                             $695                      28.7                $19,946.50
Kos, Sandra                   Manager                             $200                      17.0                 $3,400.00
Kuruvilla, Daniel             Manager                             $725                      10.0                 $7,250.00
Lam, James                    Manager                             $650                      24.9                $16,185.00
Li, Summer                    Manager                             $725                    220.6                $159,935.00
Pestano, Kyle                 Manager                             $700                    629.3                $440,510.00
Primo, Michelle               Manager                             $875                      21.0                $18,375.00
Rybarczyk, Jodi               Manager                             $725                    193.2                $140,070.00
Sivapalu, Anan                Manager                             $700                    332.2                $232,540.00
Sloan, Austin                 Manager                             $695                      14.5                $10,077.50
Tong, Crystal                 Manager                             $700                    384.7                $269,290.00
Work, David                   Manager                             $725                    338.5                $245,412.50
Zhang, Qi                     Manager                             $725                    468.8                $339,880.00
Manager Total                                                                            3,709.7             $2,669,523.00
Arah, Alijah                  Senior Associate                    $660                    235.9                $155,694.00
Braatelien, Troy              Senior Associate                    $625                    398.1                $248,812.50
Canady, Marissa               Senior Associate                    $800                      45.0                $36,000.00
Chan, Jon                     Senior Associate                    $580                    548.9                $318,362.00
Cherry, Nicholas              Senior Associate                    $775                    317.2                $245,830.00
Dobbs, Aaron                  Senior Associate                    $580                    158.5                 $91,930.00
Ebrey, Mason                  Senior Associate                    $580                    189.1                $109,678.00
Faett, Jack                   Senior Associate                    $700                    529.7                $370,790.00



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Timekeeper Name               Position                Hourly Rate         Total Hours Billed     Total Compensation
Garcia, Carolina              Senior Associate                  $800                    128.3                $102,640.00
Gibbs, Connor                 Senior Associate                  $650                      90.3                $58,695.00
Heath, Peyton                 Senior Associate                  $775                    688.1                $533,277.50
Helal, Aly                    Senior Associate                  $615                      93.0                $57,195.00
Heric, Andrew                 Senior Associate                  $635                    394.0                $250,190.00
Jones, Mackenzie              Senior Associate                  $625                    171.0                $106,875.00
Kaufman, Ashley               Senior Associate                  $685                    104.8                 $71,788.00
Kolodny, Steven               Senior Associate                  $625                    103.1                 $64,437.50
LaPosta, Logan                Senior Associate                  $725                    650.8                $471,830.00
Lei, Katie                    Senior Associate                  $775                      48.3                $37,432.50
Montague, Katie               Senior Associate                  $775                      88.8                $68,820.00
Parker, Brandon               Senior Associate                  $800                    191.0                $152,800.00
Sagen, Daniel                 Senior Associate                  $775                    512.8                $397,420.00
Sunkara, Manasa               Senior Associate                  $580                    356.4                $206,712.00
Todd, Patrick                 Senior Associate                  $685                    231.3                $158,440.50
Trent, Hudson                 Senior Associate                  $725                    687.1                $498,147.50
Willson, Jeanna               Senior Associate                  $800                      49.0                $39,200.00
Wilson, David                 Senior Associate                  $615                    506.5                $311,497.50
Wu, Grace                     Senior Associate                  $625                    190.9                $119,312.50
Yan, Jack                     Senior Associate                  $530                      24.3                $12,879.00
Zabcik, Kathryn               Senior Associate                  $625                    444.9                $278,062.50
Senior Associate Total                                                                 8,177.1             $5,574,748.50
Beretta, Matthew              Associate                         $525                    202.3                $106,207.50
Butler, Liam                  Associate                         $560                      38.7                $21,672.00
Chhuon, Sally                 Associate                         $675                    329.1                $222,142.50
Collis, Jack                  Associate                         $550                      80.5                $44,275.00
Francis, Luke                 Associate                         $650                    842.6                $547,690.00
Gonzalez, Johnny              Associate                         $700                    741.0                $518,700.00
Jain, Heman                   Associate                         $450                    116.7                 $52,515.00
Jauregui, Stefon              Associate                         $650                    260.3                $169,195.00
Kane, Alex                    Associate                         $650                    737.7                $479,505.00
Krautheim, Sean               Associate                         $560                    137.5                 $77,000.00
Lowdermilk, Quinn             Associate                         $580                    417.3                $242,034.00
Mirando, Michael              Associate                         $625                    471.0                $294,375.00
Pon, Mark                     Associate                         $675                    129.4                 $87,345.00
Price, Breanna                Associate                         $560                      24.3                $13,608.00
Pryor, Trey                   Associate                         $675                      56.7                $38,272.50
Quach, John                   Associate                         $675                      41.4                $27,945.00
Radwanski, Igor               Associate                         $580                    474.7                $275,326.00
Shaari, Nadav                 Associate                         $625                      60.8                $38,000.00
Slay, David                   Associate                         $625                    702.0                $438,750.00
Smith, Cameron                Associate                         $625                    525.9                $328,687.50
Soto, Eric                    Associate                         $675                       7.6                 $5,130.00
Steers, Jeff                  Associate                         $625                    236.5                $147,812.50



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Timekeeper Name               Position           Hourly Rate         Total Hours Billed     Total Compensation
Taraba, Erik                  Associate                    $650                    537.1                $349,115.00
Ward, Kyle                    Associate                    $556                    528.0                $293,568.00
Warren, Matthew               Associate                    $580                    179.1                $103,878.00
Wiltgen, Charles              Associate                    $650                    705.0                $458,250.00
Witherspoon, Samuel           Associate                    $650                    622.9                $404,885.00
Zhang, Irene                  Associate                    $675                    132.6                 $89,505.00
Associate Total                                                                   9,338.7             $5,875,388.50
Burns, Zach                   Consultant                   $500                    155.4                 $77,700.00
Consultant Total                                                                   155.4                 $77,700.00
Agarwal, Pulkit               Analyst                      $475                    313.1                $148,722.50
Arora, Rohan                  Analyst                      $475                    157.6                 $74,860.00
Avdellas, Peter               Analyst                      $525                    635.0                $333,375.00
Baranawal, Amisha             Analyst                      $450                    150.6                 $67,770.00
Barry, Gerard                 Analyst                      $450                    368.9                $166,005.00
Bolduc, Jojo                  Analyst                      $475                    381.8                $181,355.00
Chowdhury, Arshia             Analyst                      $450                    108.7                 $48,915.00
Clayton, Lance                Analyst                      $525                    808.0                $424,200.00
Duncan, Ryan                  Analyst                      $475                    736.3                $349,742.50
Ernst, Reagan                 Analyst                      $475                    732.5                $347,937.50
Gidoomal, Dhruv               Analyst                      $500                    145.2                 $72,600.00
Goyal, Mehul                  Analyst                      $450                    143.2                 $64,440.00
Gupta, Kavya                  Analyst                      $450                    129.1                 $58,095.00
Haq, Kamran                   Analyst                      $500                    184.3                 $92,150.00
Hubbard, Taylor               Analyst                      $500                    493.4                $246,700.00
Karnik, Noorita               Analyst                      $480                      58.6                $28,128.00
Kaur, Jaspreet                Analyst                      $450                    140.0                 $63,000.00
Khurana, Harshit              Analyst                      $450                    338.7                $152,415.00
Kumar, Aamaya                 Analyst                      $450                    419.1                $188,595.00
Lockwood, Luke                Analyst                      $525                    544.1                $285,652.50
Mittal, Anuj                  Analyst                      $450                    174.1                 $78,345.00
Myers, Claire                 Analyst                      $500                    550.0                $275,000.00
Paolinetti, Sergio            Analyst                      $475                    691.2                $328,320.00
Pasricha, Anshuman            Analyst                      $450                    119.7                 $53,865.00
Ragan, Noah                   Analyst                      $500                    182.0                 $91,000.00
Ribman, Tucker                Analyst                      $475                    757.0                $359,575.00
Saraf, Nancy                  Analyst                      $450                    177.0                 $79,650.00
Sekera, Aryaki                Analyst                      $450                    387.4                $174,330.00
Selwood, Alexa                Analyst                      $525                    583.3                $306,232.50
Sharma, Khushboo              Analyst                      $450                    175.3                 $78,885.00
Sharma, Rahul                 Analyst                      $450                    121.7                 $54,765.00
Simoneaux, Nicole             Analyst                      $525                    784.8                $412,020.00
Stockmeyer, Cullen            Analyst                      $525                    742.3                $389,707.50
Stolyar, Alan                 Analyst                      $500                    476.2                $238,100.00
Tenney, Bridger               Analyst                      $525                    704.9                $370,072.50



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    Timekeeper Name              Position                       Hourly Rate         Total Hours Billed         Total Compensation
    Thadani, Harshit             Analyst                                    $450                   343.3                     $154,485.00
    Thomas, Izabel               Analyst                                    $450                   411.6                     $185,220.00
    Uppal, Sadhika               Analyst                                    $450                   160.2                      $72,090.00
    Yadav, Vijay                 Analyst                                    $450                    29.5                      $13,275.00
    Yang, Sharon                 Analyst                                    $500                   506.7                     $253,350.00
    Analyst Total                                                                               15,066.4                   $7,362,945.50
    Prior Period Adjustment 2                                                                                                  ($125.00)
    TOTAL                                                                                       55,890.4                  $40,797,431.00




                                                Blended Hourly Rate: $729.95




2
    Reflects rate change for John Schultz from $1475 to $1425 which occurred during the Interim Period to correct a clerical error.


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